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   EXHIBIT F
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                     Case No. 25-cv-00339-JDB

DEPARTMENT OF LABOR, et al,

Defendants.




                           DECLARATION OF RUSHAB SANGHVI


I, Rushab Sanghvi declare as follows:


     1. I am the General Counsel of the American Federation of Government Employees

        (AFGE). I submit this declaration in support of Plaintiffs’ application for a temporary

        restraining order in this matter. The statements made in this declaration are based on my

        personal knowledge, materials I have reviewed, and information made available to me

        pursuant to my duties.


     2. The American Federation of Government Employees (AFGE) is the largest federal

        employee union proudly representing 800,000 federal and D.C. government workers

        nationwide and overseas. Workers in virtually all functions of government at every

        federal agency depend upon AFGE for legal representation, legislative advocacy,

        technical expertise and informational services.


     3. AFGE is dedicated to fighting for dignity, safety, and fairness on the job for its members,




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   and promoting efficiency and the improvement of government service so that the

   government can more effectively serve the American people. Ensuring its members have

   access to affordable, quality health insurance has long been an important component of

   that mission.


4. AFGE represents thousands of employees at the Department of Labor, at various DOL

   components across the country. Of the several thousand employees at DOL represented

   by AFGE, over 5,000 have chosen to become AFGE members.


5. In particular, AFGE represents approximately 3,000 bargaining unit employees through

   its affiliate AFGE Local 12, in the Washington, DC area, including at DOL headquarters

   at 200 Constitution Ave NW, Washington, DC.


6. AFGE also represents approximately 8,500 bargaining unit employees of the Department

   of Health & Human Services, including at the Centers for Medicare & Medicaid Services

   (CMS), the National Institute for Occupational Health and Safety (NIOSH) at the Centers

   for Disease Control (CDC), and the National Institutes of Health (NIH).


7. DOL and HHS have in their records a great deal of sensitive personnel information for

   the AFGE members employed at those agencies, including employment information such

   as social security numbers, tax forms such as W-2, banking information for payment

   purposes, and similar.


8. HHS also has in its records personal and health information of AFGE members who are

   enrolled in Medicare Part D or have a Medicare Advantage Plan. Failure to properly

   safeguard that sensitive personal and health information may chill AFGE members from




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   speaking candidly with providers or accessing all of the healthcare they need to live

   healthy and full lives. Impediments to its members accessing the healthcare they need

   thus undermines an important aspect of AFGE’s mission.


9. On February 4, 2025, one of AFGE’s members who works in the headquarters of the

   Department received an instruction from Department leadership that Elon Musk and his

   DOGE team would be accessing Department of Labor headquarters beginning around 4

   p.m. on February 5, 2025. This member and other employees were told by Department

   leadership that when Mr. Musk and his team visit, they are to do whatever they ask, not

   to push back, not to ask questions. They were told to provide access to any DOL system

   they requested access to and not to worry about any security protocols; just do it. Based

   on their statements, the employee believed they could face termination if they did not

   comply.


10. This member reported these statements to AFGE leadership. I have personally confirmed

   with the member these statements in the preceding paragraph.


11. AFGE’s members, like all federal employees, may be injured on the job, entitling them to

   workers compensation. Injuries may be traumatic, like a fall, or an occupational disease,

   a medical condition that developed due to work activities.


12. When our members are injured and entitled to workers compensation, they must file

   claims through the Federal Employees’ Compensation Act Claims Administration. Doing

   so requires submitting private medical and financial information, including about injuries

   and illness, prognosis, long term effects, medical appointments, treatment plans, and

   corresponding benefits determinations.



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13. AFGE assists dues paying members with submitting workers compensation claims to

   FECA. In 2024 we assisted with approximately 1,500 claims on behalf of these members,

   although that represents a small fraction of the total claims that our members have

   submitted. It is reasonable to estimate that AFGE has thousands of members with

   workers compensation claims pending at FECA.


14. Permitting DOGE to access FECA records will reveal highly personal, private medical

   and benefits information of AFGE members as well as all federal employees with

   workers compensation claims.


15. This will erode AFGE members’ trust in DOL’s ability to keep claims confidential.


16. If AFGE members cannot trust that FECA records are confidential, it will directly harm

   AFGE in several ways.


17. AFGE’s ability to assist federal employees with FECA claims results in increased

   organizing and membership numbers. AFGE’s workers compensation specialists believe

   that the decreased trust in confidentiality will result in fewer federal employees seeking

   assistance on FECA claims and, in turn, fewer federal employees signing up to be AFGE

   members based on this service.


18. Because AFGE members pay dues, anything which reduces the number of AFGE

   members reduces dues, and thus AFGE’s revenue and operating budget.


19. The eroded trust in confidentiality of FECA claims will also require AFGE’s workers

   compensation specialists to take more time to discuss confidentiality matters with

   potential claimants, thereby requiring them to take on fewer cases and divert resources




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       from other core functions.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on February 11, 2025, in Washington, DC



                                                              /s/ Rushab Sanghvi       .
                                                                  Rushab Sanghvi




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